538 U.S. 1019
    GONZALEZ-VARGASv.UNITED STATES;HERRERA-ORTEGAv.UNITED STATES;NEAL-ESTRADAv.UNITED STATES; andPEREZ-AVALOSv.UNITED STATES.
    No. 02-9657.
    Supreme Court of United States.
    May 5, 2003.
    
      1
      CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT.
    
    
      2
      C. A. 5th Cir. Certiorari denied. Reported below: 54 Fed. Appx. 796 (third judgment), 797 (first and second judgments), and 798 (fourth judgment).
    
    